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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )       CRIMINAL ACTION NO.
   v.                                )           2:12cr84-MHT
                                     )               (WO)
COURTNEY JOHNSON                     )


                                ORDER

    Based on the agreement and representations of the

parties made in open court during the hearing today, it

is ORDERED that:

    (1)    The   revocation      petition        (doc.      no.    392)   is

denied without prejudice.

    (2) The      joint   treatment        plan   (doc.       no.   404)   is

adopted as modified today.

    (3) The      conditions    of   probation         are    modified     as

follows:

           (a) Defendant Courtney Johnson is removed from

    home confinement.

           (b) Defendant        Johnson          is      continued        on

    electronic     monitoring       and    shall      only    leave   home
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with permission of the probation department until

further order of this court.

      (c) Defendant              Johnson          is     to      receive         a

mental-health assessment from Dr. Kale Kirkland on

October       4,     2016.         The      written       report      of    the

assessment is to be filed with the court under seal

upon completion.

      (d) Upon            completion         of         the      assessment,

defendant          Johnson    is       to    receive          counseling        to

address       his      mental-health              and     substance-abuse

issues at Montgomery Area Mental Health Authority

at    least    twice       per     month,      and      is     to   take,       as

prescribed,         any    and     all      medication         that   may       be

prescribed for his mental health.

      (e) Defendant Johnson is to attend vocational

rehabilitation         programming           at    Easter       Seals      on    a

daily basis until he obtains long-term employment,

and    shall        receive       life-coaching              services      from

Easter Seals.


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    (4) On or before December 12, 2016, the probation

department and defense counsel are to submit a joint

report     on    defendant      Johnson’s         progress     under    and

compliance       with    the   plan    set    forth   in     this   order.

(However,       should   defense      counsel      determine    that    the

submission of a joint report would adversely impact his

client’s    interests,         he   will     be   exempted     from    this

requirement, and the probation department alone should

submit the report.)

    DONE, this the 27th day of September, 2016.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
